                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )      Criminal No. 3:10-00163
                                                  )      Judge Trauger
[9] JOEDON BRADLEY                                )

                                         ORDER

       It is hereby ORDERED that a hearing will be held on the Petition to Revoke Supervision

(Docket No. 2062) and the Supplemental Petition on Thursday, September 18, 2014, at 2:30 p.m.

       It is so ORDERED.

       ENTER this 10th day of September 2014.



                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                         U.S. District Judge




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